Case 4:17-cv-00454-GKF-JFJ   Document 159-14 Filed in USDC ND/OK on 10/12/18   Page 1
                                        of 2




                               Exhibit M
Case 4:17-cv-00454-GKF-JFJ                        Document 159-14 Filed in USDC ND/OK on 10/12/18                                                  Page 2
                                                             of 2

    From:                   Gill, Robert C.
    To:                     Rubman, Gary; VGTvCastleHill
    Cc:                     Platt, Henry A.; Antonelli, Matthew; Jonathan Jacobs; Duane Zobrist; Schaufelberger, Thomas S.
    Subject:                Schoettelkotte Schedules
    Date:                   Tuesday, October 02, 2018 6:08:57 PM
    Attachments:            image001.png
                            Video Gaming Technologies v. Castle Hill Studios - Supplemental Schedules.pdf




    Gary,

    Attached please find an electronic copy of the schedules that were provided in hard copy form just
    before Mr. Schoettelkotte’s deposition began on September 22.

    With regard to Mr. Schoettelkotte’s Schedule 11A, that document did not exist during the discovery
    period and was therefore not produced in discovery. The information in Schedule 11A was provided
    by CHG and was used to create Schedule 11A, which was created for the purpose of being used with
    Mr. Schoettelkotte’s expert report. My comments that you referred to, about information which
    had been produced in discovery, were directed to the first four items which were identified at the
    top of page 2 of Schedule 2 of Mr. Schoettelkotte’s report. Those four files had no bates numbers
    and were produced in native format in that fashion so that we could produce them as quickly as
    possible. Those four files were later included as part of CHG_PROD016 on July 31, 2018, as I
    indicated in my email to you of September 25.

    Bob

                                           Robert C. Gill
                                           1919 Pennsylvania Avenue, N.W. Suite 550 | Washington, DC 20006-3434
                                           Tel: 202.295.6605 | Fax: 202.295.6705
                                           Robert.Gill@saul.com | www.saul.com




    "Saul Ewing Arnstein & Lehr LLP (saul.com)" has made the following annotations:
    +~~~~~~~~~~~~~~~~~~~~~~~+
    This e-mail may contain privileged, confidential, copyrighted, or other legally protected information. If you are not the intended recipient
    (even if the e-mail address is yours), you may not use, copy, or retransmit it. If you have received this by mistake please notify us by
    return e-mail, then delete.
    +~~~~~~~~~~~~~~~~~~~~~~~~+
